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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION



 THE STATE OF MISSOURI, et al.,

                     Plaintiffs,

           v.                                         Case No. 4:21-cv-00287-AGF

 JOSEPH R. BIDEN, JR., in his official
 capacity as President of the United States,
 et al.,

                     Defendants. 1


                            DEFENDANTS’ MOTION TO DISMISS
       Defendants move to dismiss Plaintiffs’ Amended Complaint, ECF No. 6, in its entirety, for

lack of subject-matter jurisdiction (under Federal Rule of Civil Procedure 12(b)(1)) and for failure to

state a claim upon which relief can be granted (under Federal Rule of Civil Procedure 12(b)(6)). The

reasons for Defendants’ motion are set forth in Defendants’ Combined Memorandum of Law in

Support of Motion to Dismiss and in Opposition to Plaintiffs’ Motion for a Preliminary Injunction.

Defendants’ combined brief is being filed concurrently with this motion, pursuant to the Court’s May

5, 2021 Order, ECF No. 22.




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         Pursuant to Federal Rule of Civil Procedure 25(d), Shalanda Young (Acting Director of the
Office of Management and Budget) and Dr. Eric S. Lander (Director of the Office of Science and
Technology Policy) are automatically substituted as Defendants in their official capacities for their
predecessors, Robert Fairweather and Kei Koizumi (respectively).
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    Dated: June 4, 2021                   Respectfully submitted,

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                                          Acting Assistant Attorney General

                                          SAYLER A. FLEMING
                                          United States Attorney

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